                  Case 3:24-cr-00058-PDW Document 40 Filed 05/02/24 Page 1 of 1
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Kelly Rae Dionne,
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          D 7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWGHIHQGDQWKDVFRPPLWWHGDQRIIHQVHOLVWHGLQ86& H  
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             REVWUXFWRUDWWHPSWWRREVWUXFWMXVWLFHRUWKUHDWHQLQMXUHRULQWLPLGDWHRUDWWHPSWWRWKUHDWHQLQMXUHRULQWLPLGDWH
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Kelly Rae Dionne is currently serving a sentence ordered by a state court. Release pending trial of this case therefore cannot
be considered at this time.




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    'DWH May 2, 2024                                                        /s/ Alice R. Senechal
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